Case 2:24-cr-00407-MCA       Document 120       Filed 03/18/25   Page 1 of 1 PageID: 284




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                        MINUTES OF PROCEEDINGS


NEWARK                                                              Date: 3/18/25

JUDGE: MADELINE COX ARLEO

COURT REPORTER: Diane DiTizii

DEPUTY CLERK: Amy Andersonn

Title of Case:                                        Docket No. 24-cr-407(MCA)-10

U.S.A. v. DAMANY WALKER

Appearances:

Katherine Romano AUSA, for the Government
Jessica Ecker AUSA, for the Government
Michael Rosas, Esq., for the defendant WALKER

Nature of proceedings: PLEA HEARING

Ordered defendant sworn.
Deft. advised of rights.
Defendant pled guilty to the Indictment.
Rule 11 form filed.
ORDERED sentence date set for 7/24/25 at 11:00 a.m.
ORDERED continued bail.

Time Commenced 12:15 p.m.
Time Adjourned 12:35 p.m.

                                                                 Amy Andersonn
                                                                 Deputy Clerk
